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                 and AMAZON.COM, INC.
            8
                                             UNITED STATES DISTRICT COURT
            9
                                          NORTHERN DISTRICT OF CALIFORNIA
          10

          11
                 ELENA NACARINO, on behalf of herself and   CASE NO. 3:20-cv-02099
          12     all other aggrieved employees,
                                                            DEFENDANTS PRIME NOW LLC AND
          13                        Plaintiffs,             AMAZON.COM, INC.’S NOTICE OF
                                                            REMOVAL OF ACTION
          14           v.
                                                            [Removal from the Superior Court in and for the
          15     PRIME NOW, LLC, a Delaware Limited         County of San Francisco, Case No. CGC-20-
                 Liability Company; AMAZON.COM INC., a      582407]
          16     Delaware Corporation; and DOES 1 through
                 10, inclusive,                             Action Filed: January 23, 2020
          17
                                    Defendants.
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            1           TO THE CLERK OF THE ABOVE-TITLED COURT AND TO PLAINTIFF ELENA
            2    NACARINO AND HER COUNSEL OF RECORD: PLEASE TAKE NOTICE THAT, pursuant
            3    to 28 U.S.C. §§ 1332, 1441, and 1446 Defendants Prime Now LLC and Amazon.com, Inc., hereby
            4    remove to the United States District Court for the Northern District of California the above-captioned
            5    state court action, originally filed as Case No. CGC-20-582407 in the San Francisco County Superior
            6    Court, State of California. Removal is proper on the following grounds:
            7                                       TIMELINESS OF REMOVAL
            8           1.      On January 23, 2020, Plaintiff Elena Nacarino (“Plaintiff”) filed a Representative
            9    Action Complaint for Civil Penalties Pursuant to the Private Attorneys General Act (“PAGA”) in San
          10     Francisco County Superior Court against Defendants Prime Now LLC and Amazon.com, Inc.
          11     (“Defendants”). Pursuant to 28 U.S.C. § 1446(a), true and correct copies of the (a) Summons,
          12     (b) Complaint, (c) Civil Case Cover Sheet, (d) Notice to Plaintiff of Case Management Conference,
          13     (e) Plaintiff’s Application for Complex Designation, (f) Declaration of Jeff Geraci In Support of
          14     Application for Complex Designation, (g) [Corrected] Declaration of Jeff Geraci In Support of
          15     Application for Complex Designation, (h) Order Granting Complex Designation and for Single
          16     Assignment, (i) Proof of Service of Summons, and (j) docket sheet are attached as Exhibits A–J to the
          17     Declaration of Heather Richardson (“Richardson Decl.”) filed concurrently herewith. These filings
          18     constitute the complete record of all records and proceedings in the state court.
          19            2.      Plaintiff served the Summons and Complaint on Defendants via personal service on
          20     February 28, 2020. See Richardson Decl., ¶ 10, Ex. I (Proof of Service of Summons). This Notice of
          21     Removal is timely pursuant to 28 U.S.C. § 1446(b) because it is filed within 30 days of service of the
          22     Summons and Complaint on Defendants.
          23
                                      SUMMARY OF PLAINTIFF’S ALLEGATIONS
          24                   AND FACTS GIVING RISE TO JURISDICTION AND REMOVAL

          25            3.      Removal is proper pursuant to 28 U.S.C. § 1441(a) because there is complete diversity

          26     of citizenship between the parties, and the amount in controversy exceeds $75,000. See 28 U.S.C.

          27     § 1332.

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            1    A.     Plaintiff and Defendants Are Not Citizens of the Same State.
            2           4.      For diversity jurisdiction to exist, the parties must be “citizens of different states.” 28
            3    U.S.C. § 1332(a).
            4           5.      Plaintiff alleges that she is a resident of California. See Richardson Decl., Ex. B
            5    (Compl.) ¶ 7. Plaintiff also alleges that “she has been employed by Defendants as a shopper in San
            6    Francisco, California” since September 2018. Id. For purposes of removal, Plaintiff is, therefore, a
            7    citizen of the State of California. Lew v. Moss, 797 F.2d 747, 751 (9th Cir. 1986) (residency creates a
            8    rebuttable presumption of domicile supporting diversity of citizenship).
            9           6.      Defendants Amazon.com, Inc. and Prime Now LLC are not citizens of California.
          10            7.      For purposes of Section 1332, a corporation is deemed to be a citizen of any State by
          11     which it has been incorporated and of the State where it has its principal place of business. See 28
          12     U.S.C. § 1332(c)(1). “The phrase ‘principal place of business’ in § 1332(c)(1) refers to the place
          13     where a corporation’s high level officers direct, control, and coordinate the corporation’s activities,
          14     i.e., its ‘nerve center,’ which will typically be found at its corporate headquarters.” Hertz Corp. v.
          15     Friend, 559 U.S. 77, 78 (2010). Amazon.com, Inc. is incorporated in the State of Delaware, and has
          16     its principal place of business in Seattle, Washington. Declaration of Zane Brown (“Brown Decl.”),
          17     ¶ 4. Amazon.com, Inc. maintains its corporate headquarters in Seattle, Washington. Id. Key
          18     executives of Amazon.com, Inc. are based out of its Seattle, Washington Corporate headquarters. Id.
          19     Seattle, Washington is also the actual center of direction, control and coordination for its operations.
          20     Id. Thus, Amazon.com, Inc. is a citizen of the State of Delaware and the State of Washington. See
          21     28 U.S.C. § 1332(c)(1).
          22            8.      In the case of a limited liability company, the court should consider the citizenship of
          23     each member or owner of the company. See, e.g., Johnson v. Columbia Props. Anchorage, L.P., 437
          24     F.3d 894, 899 (9th Cir. 2006) (“like a partnership, an LLC is a citizen of every state in which its
          25     owners/members are citizens.”). Prime Now LLC’s sole member and owner is PNF Enterprises,
          26     LLC, which is a wholly owned subsidiary of PNF Properties LLC. Brown Decl., ¶ 3. PNF
          27     Properties LLC, in turn, is a wholly owned subsidiary of PNF US LLC, which is a wholly owned
          28     subsidiary of Amazon.com Services, Inc., which is a wholly owned subsidiary of Amazon.com, Inc.

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            1    Id. None of the aforementioned entities are incorporated under the laws of the State of California,
            2    nor do any of them have a principal place of business in California. Id. As set forth above,
            3    Amazon.com, Inc. is a citizen of the State of Delaware and the State of Washington. Id. ¶ 4.
            4    Amazon.com Services, Inc. is a corporation incorporated in the State of Delaware and its principal
            5    place of business is in Seattle, Washington. Id. ¶ 5. Amazon.com Services, Inc. maintains its
            6    corporate headquarters in Seattle, Washington. Id. Key executives of Amazon.com Services, Inc. are
            7    based out of its Seattle, Washington Corporate headquarters. Id. Seattle, Washington is also the
            8    actual center of direction, control and coordination for its operations. Id. Thus, Prime Now LLC is a
            9    citizen of the State of Delaware and the State of Washington.
          10            9.      Based on the foregoing, diversity is established between Plaintiff and Defendants
          11     because Plaintiff and Defendants are citizens of different states.
          12     B.     The Amount in Controversy Exceeds $75,000
          13            10.     Defendants need only show by a preponderance of the evidence (that it is more
          14     probable than not) that Plaintiff’s claimed damages exceed the jurisdictional minimum. Sanchez v.
          15     Monumental Life Ins. Co., 102 F.3d 398, 403-04 (9th Cir. 1996). Further, the United States Supreme
          16     Court has held that under 28 U.S.C. § 1446(a), a defendant seeking to remove a case to federal court
          17     need only file “a notice of removal ‘containing a short and plain statement of the grounds for
          18     removal.’” Dart Cherokee Basin Operating Co. LLC v. Owens, 135 S. Ct. 547, 553 (2014). The
          19     Court held that this language tracks the general pleading requirement stated in Rule 8(a) of the
          20     Federal Rules of Civil Procedure, and that “[a] statement ‘short and plain’ need not contain
          21     evidentiary submissions.” Id. at 551, 553. Defendant need to only plausibly allege that the amount in
          22     controversy exceeds $75,000. Id. at 553 (“the defendant’s amount-in-controversy allegation should
          23     be accepted when not contested by the plaintiff or questioned by the court”). Here, the Court can
          24     reasonably ascertain from the Complaint and its Prayer for Relief that the amount in controversy
          25     exceeds $75,000. See Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997)
          26     (“The district court may consider whether it is facially apparent from the complaint that the
          27     jurisdictional amount is in controversy.”) (internal citations and quotations omitted).
          28

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            1           11.     In her Complaint, Plaintiff alleges six causes of action: (1) PAGA penalties for failure
            2    to pay minimum, regular, and overtime wages; (2) PAGA penalties for failure to provide meal
            3    periods; (3) PAGA penalties for failure to provide rest periods; (4) PAGA penalties for failure to
            4    provide accurate itemized wage statements; (5) PAGA penalties for failure to provide final wages;
            5    and (6) PAGA penalties for failure to reimburse business expenses. See Richardson Decl., Ex. B
            6    (Compl.). Plaintiff “seeks to represent all current and former non-exempt employees of Defendants
            7    who suffered one or more of the alleged violations (‘aggrieved employees’) during the time period
            8    one year and 65 days before commencement of this action until the commencement of trial in the
            9    matter (‘the PAGA Period’).” Id. ¶ 3.
          10            12.     Plaintiff’s Complaint does not specify the amount that she seeks to recover from
          11     Defendants in this action. Plaintiff’s Complaint seeks civil penalties, reasonable attorney’s fees and
          12     costs, and other relief the Court deems just and proper. See Richardson Decl., Ex. B (Compl.).
          13            13.     In assessing whether the amount in controversy requirement has been satisfied, “a
          14     court must ‘assume that the allegations of the complaint are true and that a jury will return a verdict
          15     for the plaintiff on all claims made in the complaint.’” Campbell v. Vitran Exp., Inc., 471 F. App’x
          16     646, 648 (9th Cir. 2012) (quoting Kenneth Rothschild Tr. v. Morgan Stanley Dean Witter, 199 F.
          17     Supp. 2d 993, 1001 (C.D. Cal. 2002)). In other words, the focus of the Court’s inquiry must be on
          18     “what amount is put ‘in controversy’ by the plaintiff’s complaint, not what a defendant will actually
          19     owe.” Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1205 (E.D. Cal. 2008) (citing Rippee
          20     v. Boston Mkt. Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005)).
          21            14.     Defendants deny any liability in this case and expressly reserve all rights to contest the
          22     merits of all claims asserted in the Complaint. However, Defendants submit that the allegations in
          23     Plaintiff’s Complaint put more than $75,000 in controversy for purposes of the jurisdictional
          24     requirements for removal only. See 28 U.S.C. § 1332(a). Actions seeking recovery of civil penalties
          25     under PAGA are properly removed when these requirements are met. See Olson v. Michaels Stores,
          26     Inc., 2017 WL 3317811, at *3 (C.D. Cal. Aug. 2, 2017) (“[D]istrict courts in California routinely
          27     exercise jurisdiction over PAGA claims when complete diversity exists between the PAGA plaintiff
          28

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            1    and the defendant.”); Gunther v. Int’l Bus. Mach. Corp., 2016 WL 3769335, at *3 (C.D. Cal. July 14,
            2    2016) (exercising diversity jurisdiction in a PAGA action).
            3            15.     Time Period. Plaintiff provided Notice of Labor Code Violations Pursuant to Labor
            4    Section 2699.3 to the California Labor and Workforce Development Agency (“LWDA”) on
            5    October 2, 2019. 1 See Richardson Decl., Ex. B (Compl.) Ex. 1. One year from this date is October 2,
            6    2018. Plaintiff’s last day of work with Defendants was December 10, 2019. See Brown Decl., ¶ 2.
            7    During the period from October 2, 2018 to December 10, 2019, Plaintiff was paid bi-weekly. Id. As
            8    such, the number of pay periods from October 2, 2018 to December 10, 2019 was 31. Id.
            9            16.     Plaintiff’s First Cause of Action. Plaintiff’s first cause of action for PAGA penalties
          10     for failure to pay minimum, regular, and overtime wages alleges violations of Labor Code §§ 510,
          11     1194 and Wage Order 4-2001 and seeks the following: (1) recovery of civil penalties under Labor
          12     Code § 2699, which provides for a civil penalty of $100 per pay period for the initial violation and
          13     $200 for each subsequent violation; (2) recovery of civil penalties under Labor Code § 558, which
          14     provides for a civil penalty of $50 per pay period for the initial violation and $100 per pay period for
          15     each subsequent violation; and (3) recovery of civil penalties under Labor Code § 1197.1, which
          16     provides for a civil penalty of $100 per pay period for the initial violation and $250 per pay period for
          17     each subsequent violation. 2 See Richardson Decl., Ex. B (Compl.) ¶¶ 28, 30-33, Prayer for Relief
          18
                  1
          19          Although Plaintiff alleges that the “PAGA Period” is “the time period one year and 65 days
                      before commencement of this action until the commencement of trial in the matter,” Richardson
          20          Decl., Ex. B (Compl.) ¶ 3, she does not provide a start date for when she intends to seek penalties.
                      For purposes of removal, therefore, Defendants use the time period starting one-year from
          21          Plaintiff’s notice to the LWDA. See Taylor v. Interstate Grp., LLC, 2016 WL 861020, at *3
                      (N.D. Cal. Mar. 7, 2016) (“The one-year limitations period for PAGA civil penalties begins to toll
          22          upon filing notice to the LWDA for a PAGA investigation.”). Defendants, however, do not
                      concede that Plaintiff is able to recover penalties going back one year from Plaintiff’s notice to
          23          the LWDA, and expressly reserve all rights to contest this time period.
                  2
          24          Section 558 provides for a “civil penalty as follows: (1) For any initial violation, fifty dollars
                      ($50) for each underpaid employee for each pay period for which the employee was underpaid in
          25          addition to an amount sufficient to recover underpaid wages. (2) For each subsequent violation,
                      one hundred dollars ($100) for each underpaid employee for each pay period for which the
          26          employee was underpaid in addition to an amount sufficient to recover underpaid wages.” Cal.
                      Lab. Code § 558(a). Defendants do not include wages in its calculations as the California
          27          Supreme Court has held that the “unpaid wages” are not part of the civil penalty that can be
                      recovered under PAGA. ZB, N.A. v. Superior Court, 8 Cal. 5th 175, 195 (2019). Section 1197.1
          28          provides “a civil penalty” for $100 “for each underpaid employee for each pay period” for any
                                                                                                     (Cont’d on next page)
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            1    ¶¶ B, C. Based on Plaintiff’s allegations, the amount in controversy with respect to Plaintiff’s First
            2    Cause of Action is $16,750, calculated as follows 3:
            3
                      Penalty under § 2699 for alleged failure to pay minimum, regular and                     $6,100
            4         overtime wages, including split shift wages (Richardson Decl., Ex. B
                      (Compl.) ¶¶ 30, 32, Prayer for Relief ¶ B)
            5
                      $100 (initial violation) + $200 x 30 pay periods (subsequent
            6         violations)

            7         Penalty under § 558 for alleged failure to pay overtime wages for all
                      hours worked (Id. ¶ 32, Prayer for Relief ¶ C)                                           $3,050
            8
                      $50 (initial violation) + $100 x 30 pay periods (subsequent
            9         violations)
          10          Penalty under § 1197.1 for alleged failure to pay overtime wages for
                      all hours worked (Id., Prayer for Relief ¶ C)                                            $7,600
          11
                      $100 (initial violation) + $250 x 30 pay periods (subsequent
          12          violations)
          13          Amount in controversy for First Cause of Action, based on                              $16,750
          14          Plaintiff’s allegations:

          15              17.     Plaintiff’s Second Cause of Action. Plaintiff’s second cause of action for PAGA

          16     penalties for failure to provide meal periods alleges violations of Labor Code §§ 226.7 and 512 and

          17     Wage Order 4-2001 and seeks the following: (1) recovery of civil penalties under Labor Code

          18     § 2699, for alleged failure to provide meal periods and (2) recovery of civil penalties under Labor

          19     Code § 2699, for alleged failure to pay meal period premiums. See Richardson Decl., Ex. B (Compl.)

          20

          21

          22
                 (Cont’d from previous page)
          23
                       initial violation and $250 “for each underpaid employee for each pay period” for “each
          24           subsequent violation for the same specific offense.” Cal. Lab. Code § 1197.1(a). Section 2699
                       provides for a “civil penalty” of “one hundred dollars ($100) for each aggrieved employee per
          25           pay period for the initial violation and two hundred dollars ($200) for each aggrieved employee
                       per pay period for each subsequent violation.” Cal. Lab. Code § 2699(f).
          26
                  3
                       As discussed below (infra ¶ 22 & n. 5), Defendants dispute that Plaintiff may “stack” penalties
          27           and also dispute that Plaintiff may seek penalties based on a “subsequent violation,” and reserve
                       all rights to raise these disputes. However, for purposes of removal, the amount in controversy
          28           includes all penalties sought in a Complaint.

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            1    ¶¶ 35-37, Prayer for Relief ¶¶ D, E. 4 Section 2699 provides for a “civil penalty” of “one hundred
            2    dollars ($100) for each aggrieved employee per pay period for the initial violation and two hundred
            3    dollars ($200) for each aggrieved employee per pay period for each subsequent violation.” Cal. Lab.
            4    Code § 2699(f). Based on Plaintiff’s allegations, the amount in controversy with respect to Plaintiff’s
            5    Second Cause of Action is $12,200, calculated as follows:
            6
                      Penalty under § 2699 for alleged failure to provide compliant meal                      $6,100
            7         periods (Richardson Decl., Ex. B (Compl.) ¶¶ 35, 37, Prayer for
                      Relief ¶ D)
            8
                      $100 (initial violation) + $200 x 30 pay periods (subsequent
            9         violations)

          10          Penalty under § 2699 for alleged failure to pay meal period premiums
                      (Id. ¶¶ 36, 37, Prayer for Relief ¶ E)                                                  $6,100
          11
                      $100 (initial violation) + $200 x 30 pay periods (subsequent
          12          violations)
          13          Amount in controversy for Second Cause of Action, based on                             $12,200
                      Plaintiff’s allegations:
          14

          15              18.     Plaintiff’s Third Cause of Action. Plaintiff’s third cause of action for PAGA penalties

          16     for failure to provide rest periods alleges violations of Labor Code § 226.7 and Wage Order 4-2001

          17     and seeks the following: (1) recovery of civil penalties under Labor Code § 2699, for alleged failure

          18     to provide rest periods and (2) recovery of civil penalties under Labor Code § 2699, for alleged

          19     failure to pay rest period premiums. See Richardson Decl., Ex. B (Compl.) ¶¶ 39-41, Prayer for

          20     Relief ¶¶ F, G. Section 2699 provides for a “civil penalty” of “one hundred dollars ($100) for each

          21     aggrieved employee per pay period for the initial violation and two hundred dollars ($200) for each

          22     aggrieved employee per pay period for each subsequent violation.” Cal. Lab. Code § 2699(f). Based

          23     on Plaintiff’s allegations, the amount in controversy with respect to Plaintiff’s Third Cause of Action

          24     is $12,200, calculated as follows:

          25

          26
                  4
          27          Plaintiff’s Prayer for Relief ¶ E refers to “rest period premiums,” but appears to mean “meal
                      period premiums” as “rest period premiums” are listed twice in the Prayer for Relief. See
          28          Richardson Decl., Ex. B (Compl.), Prayer for Relief ¶¶ E, G.

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            1
                   Penalty under § 2699 for alleged failure to authorize and permit                          $6,100
            2      compliant rest periods (Richardson Decl., Ex. B (Compl.) ¶¶ 39, 41,
                   Prayer for Relief ¶ F)
            3
                   $100 (initial violation) + $200 x 30 pay periods (subsequent
            4      violations)

            5      Penalty under § 2699 for alleged failure to pay rest period premiums
                   (Id. ¶¶ 40, 41, Prayer for Relief ¶ G)                                                    $6,100
            6
                   $100 (initial violation) + $200 x 30 pay periods (subsequent
            7      violations)

            8      Amount in controversy for Third Cause of Action, based on                                $12,200
                   Plaintiff’s allegations:
            9

          10            19.     Plaintiff’s Fourth Cause of Action. Plaintiff’s fourth cause of action for PAGA

          11     penalties for failure to provide accurate itemized wage statements alleges violations of Labor Code

          12     § 226 and seeks the recovery of civil penalties under Labor Code § 226.3. See Richardson Decl.,

          13     Ex. B (Compl.) ¶¶ 43, 44, 46, Prayer for Relief ¶ H. Section 226.3 provides for “a civil penalty in

          14     the amount of two hundred fifty dollars ($250) per employee per violation in an initial citation and

          15     one thousand dollars ($1,000) per employee for each violation in a subsequent citation.” Cal. Lab.

          16     Code § 226.3. Based on Plaintiff’s allegations, the amount in controversy with respect to Plaintiff’s

          17     Fourth Cause of Action is $30,250, calculated as follows:

          18       Penalty under § 226.3 for alleged failure to provide accurate itemized                   $30,250
          19       wage statement, failure to provide wage statements and failure to
                   provide the information called for in Sections 226(a)(1), (2), (5), and
          20       (9) (Richardson Decl., Ex. B (Compl.) ¶¶ 43, 44, 46, Prayer for
                   Relief ¶ H)
          21
                   $250 (initial violation) + $1,000 x 30 pay periods (subsequent
          22       violations)

          23       Amount in controversy for Second Cause of Action, based on                               $30,250
                   Plaintiff’s allegations:
          24

          25            20.     Plaintiff’s Fifth Cause of Action. Plaintiff’s fifth cause of action for PAGA penalties

          26     for failure to provide final wages alleges violations of Labor Code §§ 201-203 and seeks the

          27     following: (1) recovery of civil penalties under Labor Code § 2699, for alleged failure to pay final

          28     wages and (2) recovery of civil penalties under Labor Code § 2699, for alleged failure to pay waiting

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            1    time penalties. See Richardson Decl., Ex. B (Compl.) ¶¶ 49, 50, Prayer for Relief ¶¶ I, J. Section
            2    2699 provides for a “civil penalty” of “one hundred dollars ($100) for each aggrieved employee per
            3    pay period for the initial violation and two hundred dollars ($200) for each aggrieved employee per
            4    pay period for each subsequent violation.” Cal. Lab. Code § 2699(f). Based on Plaintiff’s
            5    allegations, the amount in controversy with respect to Plaintiff’s Second Cause of Action is $200,
            6    calculated as follows:
            7
                   Penalty under § 2699 for alleged failure to pay final wages                                   $100
            8      (Richardson Decl., Ex. B (Compl.) ¶¶ 49, 50, Prayer for Relief ¶ I, J)
            9      $100 (initial violation)

          10       Penalty under § 2699 for alleged failure to pay waiting time penalties
                   (Richardson Decl., Ex. B (Compl.) ¶ 50, Prayer for Relief ¶ I, J)                             $100
          11
                   $100 (initial violation)
          12
                   Amount in controversy for Fifth Cause of Action, based on                                     $200
          13       Plaintiff’s allegations:
          14            21.     Plaintiff’s Sixth Cause of Action. Plaintiff’s sixth cause of action for PAGA penalties
          15     for failure to reimburse business expenses alleges violations of Labor Code §§ 2802, 2804 and seeks
          16     the following: (1) recovery of civil penalties under Labor Code § 2699 for alleged failure to
          17     reimburse necessary expenditures pursuant to Section 2802 and (2) recovery of civil penalties under
          18     Labor Code § 2699 for alleged violation of Section 2804. See Richardson Decl., Ex. B (Compl.)
          19     ¶¶ 51, 53, Prayer for Relief ¶¶ K, L. Section 2699 provides for a “civil penalty” of “one hundred
          20     dollars ($100) for each aggrieved employee per pay period for the initial violation and two hundred
          21     dollars ($200) for each aggrieved employee per pay period for each subsequent violation.” Cal. Lab.
          22     Code § 2699(f). Based on Plaintiff’s allegations, the amount in controversy with respect to Plaintiff’s
          23     Sixth Cause of Action is $12,200, calculated as follows:
          24
                   Penalty under § 2699 for alleged failure to reimburse necessary                           $6,100
          25       expenditures (Richardson Decl., Ex. B (Compl.) ¶¶ 51, 53, Prayer for
          26       Relief ¶ K)
                   $100 (initial violation) + $200 x 30 pay periods (subsequent
          27       violations)
          28
                   Penalty under § 2699 for alleged violation of Section 2804
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            1         (Richardson Decl., Ex. B (Compl.), Prayer for Relief ¶ L)                                 $6,100
            2         $100 (initial violation) + $200 x 30 pay periods (subsequent
                      violations)
            3
                      Amount in controversy for Sixth Cause of Action, based on                                $12,200
            4         Plaintiff’s allegations:
            5
                          22.     Total Penalties Placed In Controversy. As set forth above, based upon the allegations
            6
                 in the Complaint, the total penalties placed in controversy for Plaintiff’s six causes of action equates
            7
                 to $83,800. This amount is comprised of the penalties placed in controversy for the alleged Labor
            8
                 Code violations as to Plaintiff alone. See Patel v. Nike Retail Sers., Inc., 58 F. Supp. 3d 1032, 1048
            9
                 (N.D. Cal. 2014) (emphasis added) (“[T]he entire amount of PAGA penalties attributable to [a
          10
                 plaintiff’s] claims count towards the amount in controversy”). While Defendants dispute that
          11
                 Plaintiff may “stack” penalties and also dispute that Plaintiff may seek penalties based on a
          12
                 “subsequent violation,” courts have held that for purposes of removal, all of the penalties sought in a
          13
                 Complaint are included in the amount-in-controversy. 5 For example, in Schiller v. David’s Bridal,
          14
                 Inc., 2010 WL 2793650, at *6-7 (E.D. Cal. July 14, 2010), the court calculated penalties for
          15
                 “subsequent violations” and concluded that “Defendant may aggregate all alleged PAGA penalties as
          16
                 to each cause of action for the purposes of tabulating the amount in controversy.” The court reasoned
          17
                 that plaintiff “cannot use PAGA civil penalties as both a sword and a shield by requesting in her
          18
                 [complaint] that PAGA penalties be awarded for each of seven (7) causes of action, and then arguing
          19
                 [against stacking]. . .for purposes of calculating the amount in controversy.” Id. at *6; see also, e.g.,
          20
                 Salazar v. PODS Enters., LLC, 2019 WL 2023726 at *6 (C.D. Cal. May 8, 2019) (allowing stacking
          21
                 as “other district courts have allowed the amount in controversy to be calculated by aggregating all
          22
                 potential PAGA penalties alleged as to each claim” and noting that “Plaintiff cites no authority
          23
                 establishing that PAGA penalties could not be awarded for every cause of action under which they
          24

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                  5
                      As set forth above, the Complaint seeks penalties for multiple different violations and alleges that
          26          Plaintiff will seek penalties for the alleged “initial violation” and “each subsequent violation.”
                      See, e.g., Richardson Decl., Ex. B (Compl.) ¶¶ 32, 33, 37, 41, 46, 50, 53, Prayer for Relief.
          27          Defendants expressly preserve their arguments that Plaintiff may not stack penalties and is not
                      entitled to penalties based on any “subsequent violation,” and expressly reserve all rights to
          28          contest the merits of Plaintiff’s claims.

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            1    are alleged, so it is possible (although highly unlikely) that he could recover PAGA penalties for each
            2    separate type of Labor Code violation”); Smith v. Brinker Int’l, Inc., 2010 WL 1838726, at *2–6
            3    (N.D. Cal. May 5, 2010) (stacking PAGA penalties when calculating amount in controversy).
            4           23.     Attorneys’ Fees. Plaintiff’s Complaint also seeks reasonable attorneys’ fees and costs.
            5    See Richardson Decl., Ex. B (Compl.) Prayer for Relief ¶ N. When determining jurisdiction under 28
            6    U.S.C. § 1332, “[t]he amount of controversy includes . . . attorney’s fees, if authorized by statute or
            7    contract.” Kroske v. U.S. Bank. Corp., 432 F.3d 976, 980 (9th Cir. 2005). Under California law,
            8    “[a]ny employee who prevails in any [PAGA] action shall be entitled to an award of reasonable
            9    attorney’s fees and costs.” See Cal. Lab. Code § 2699(g). “District courts within the Ninth Circuit
          10     handling PAGA cases have held that “removing defendants can reasonably assume plaintiffs are
          11     entitled to attorney[s’] fees valued at approximately 25% of projected damages.” Olson v. Michaels
          12     Stores, Inc., 2017 WL 3317811, at *3 (C.D. Cal. Aug. 2, 2017). 25% of the civil penalties placed at
          13     issue ($83,800) would place attorneys’ fees in the amount of $20,950 in controversy.
          14            24.     Thus, the total amount in controversy based on Plaintiff’s allegations is $104,750,
          15     calculated as follows:
          16
                   Amount in controversy for First Cause of Action, based on Plaintiff’s                      $16,750
          17       allegations
          18       Amount in controversy for Second Cause of Action, based on                                 $12,200
                   Plaintiff’s allegations
          19

          20       Amount in controversy for Third Cause of Action, based on                                  $12,200
                   Plaintiff’s allegations
          21
                   Amount in controversy for Fourth Cause of Action, based on                                 $30,250
          22       Plaintiff’s allegations
          23       Amount in controversy for Fifth Cause of Action, based on Plaintiff’s                         $200
                   allegations
          24

          25       Amount in controversy for Sixth Cause of Action, based on                                  $12,200
                   Plaintiff’s allegations
          26
                   Attorney’s Fees, based on 25% of the civil penalties placed at issue                       $20,950
          27       by Plaintiff’s allegations
          28       Total Amount in controversy, based on Plaintiff’s allegations                            $104,750

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            1           25.     Defendants reserve the right to present evidence establishing the amount placed in
            2    controversy by Plaintiff’s claims should Plaintiff challenge whether the jurisdictional amount-in-
            3    controversy threshold is satisfied. See Dart Cherokee, 135 S. Ct. at 554 (“Evidence establishing the
            4    amount is required by § 1446(c)(2)(B) only when the plaintiff contests, or the court questions, the
            5    defendant's allegation [that the amount in controversy exceeds the jurisdictional threshold].”); see
            6    also Bezabeh v. Envirobusiness, Inc., 2017 WL 4271210, at *3 (C.D. Cal. Sept. 25, 2017) (applying
            7    Dart Cherokee Basin to a non-CAFA diversity removal claim); Gunther, 2016 WL 3769335, at *3
            8    (“[A] defendant can establish the amount in controversy” of over $75,000 “by an unchallenged,
            9    plausible assertion of the amount in controversy in its notice of removal.”) (quoting Ibarra v.
          10     Manheim Invs., Inc., 775 F.3d 1193, 1197–98 (9th Cir. 2015)).
          11     C.     Intradistrict Assignment
          12            26.     This action is properly removed to the Court’s San Francisco or Oakland Division
          13     because Plaintiff originally filed his Complaint in the Superior Court for the County of San
          14     Francisco. See N.D. Cal. Civ. L.R. 3-2(c), 3-5(b).
          15                   THIS COURT HAS JURISDICTION AND REMOVAL IS PROPER
          16            27.     Based on the foregoing facts and allegations, this Court has jurisdiction over this
          17     action pursuant to 28 U.S.C. § 1332(a) because:
          18                    a. This is a civil action within the meaning of § 1332(a);
          19                    b. The properly named parties are citizens of different states as required by
          20                        § 1332(a)(1); and
          21                    c. The amount in controversy exceeds $75,000 as required by § 1332(a).
          22     Accordingly, this action is properly removable under 28 U.S.C. § 1441.
          23            28.     The United States District Court for the Northern District of California is the federal
          24     judicial district embracing the San Francisco County Superior Court. This action was originally filed
          25     in the San Francisco County Superior Court, rendering venue in this federal judicial district proper.
          26     See 28 U.S.C. § 84(a); 28 U.S.C. § 1441(a). Under Local Rule 3-2(d), the case may be assigned to
          27     either the San Francisco Division or the Oakland Division.
          28

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            1           29.     In accordance with 28 U.S.C. § 1446(a), true and correct copies of all process,
            2    pleadings and orders served upon Defendant are attached as Exhibits A–J to the Declaration of
            3    Heather Richardson filed concurrently herewith.
            4           30.     Upon filing the Notice of Removal, Defendants will furnish written notice to
            5    Plaintiff’s counsel and will file and serve a copy of this Notice with the Clerk of the San Francisco
            6    County Superior Court, pursuant to 28 U.S.C. § 1446(d).
            7           WHEREFORE, Defendants hereby remove to the Court the above action pending against
            8    them in the Superior Court of California, San Francisco County.
            9

          10
                 DATED: March 26, 2020
          11                                                   GIBSON, DUNN & CRUTCHER LLP
          12

          13                                                   By:               /s/ Heather Richardson
                                                                                   Heather Richardson
          14
                                                             Attorneys for Defendants Prime Now LLC, and
          15                                                 Amazon.com, Inc.
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